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Form ntcabuse

                                    UNITED STATES BANKRUPTCY COURT


District of Rhode Island

                                              Case No.: 1:20−bk−10810
                                                     Chapter: 7
                                                Judge: Diane Finkle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Charles N. Reid Jr.                                       Lisa F Reid
   68 Grant Street                                           68 Grant Street
   Warwick, RI 02886                                         Warwick, RI 02886
Social Security / Individual Taxpayer ID No.:
   xxx−xx−6663                                               xxx−xx−1815
Employer Tax ID / Other nos.:


                                      STATEMENT OF PRESUMED ABUSE



As required by 11 U.S.C. Sec. 704(b)(1)(A), the United States Trustee has reviewed the materials filed by the
debtor(s). Having considered these materials in reference to the criteria set forth in 11 U.S.C. Sec. 707(b)(2)(A), and,
pursuant to 11 U.S.C. Sec. 704(b)(2), the United States Trustee has determined that:(1) upon information and belief
and subject to further discovery the debtor's(s') case should be presumed to be an abuse under section 707(b); and (2)
the product of the debtor's current monthly income, multiplied by 12, is not less than the requirements specified in
section 704(b)(2)(A) or (B). As required by 11 U.S.C. Sec. 704(b)(2) the United States Trustee shall, not later than 30
days after the date of this Statement's filing, either file a motion to dismiss or convert under section 707(b) or file a
statement setting forth the reasons the United States Trustee does not consider such a motion to be
appropriate.Debtor(s) may rebut the presumption of abuse only if special circumstances can be demonstrated as set
forth in 11 U.S.C. Sec. 707(b)(2)(B).. Status Check Due by:09/11/2020. (Nicholls, Sandra) Filed by Trustee

Dated: 9/8/20
                                                             United States Trustee
